              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:07-CR-15


UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )              ORDER
                                                    )
DONNA MARIE GOOSSENS,                               )
                                                    )
                 Defendant.                         )
__________________________________                  )


        THIS MATTER coming on to be heard, pursuant to a motion filed by the defendant

entitled, “Motion for Reconsideration of Conditions of Release” (#172). At the hearing of

this matter, the undersigned examined the record of proceedings in this case and found that

on March 7, 2007 the undersigned had entered an Order (#70) setting conditions of release

for the defendant. Thereafter, the defendant moved the court for an examination to determine

whether or not the defendant was competent to proceed in this matter. The court allowed the

motion and the defendant was sent for an examination. The defendant is now back before

the court from her examination. The order setting terms and conditions of release that was

filed on March 7, 2007 has not been revoked or modified and the court finds that the

defendant is entitled to be released on the same terms and conditions of release.

        The undersigned has, out of an abundance of caution, reconsidered the issue of the

release of the defendant and finds that at the present time there is not any reason to detain the

defendant and will release the defendant upon the same terms and conditions of release as




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the Order (#70) entered on March 7, 2007 pending further hearings and proceedings in this

matter.

                                        ORDER

          IT IS, THEREFORE, ORDERED that the “Motion for Reconsideration of

Conditions of Release” (#172) is hereby ALLOWED and the court finds that the defendant

should be released on the same terms and conditions as set forth in the Order (#70) setting

conditions of release filed on March 7, 2007.

                                            Signed: October 29, 2007




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